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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 SEBASTIAN CABREJA, individually and on
 behalf of all others similarly situated,                          Civil Action No. 23-00231

                                 Plaintiff,
                v.                                                           ORDER

 MARCO & FAMILY TIRES AUTO
 MECHANIC LLC,                                                             June 16, 2025
 MARCO PRENSA, and
 ZULAIKA HERRERA ALMONTE,

                                 Defendants.


 SEMPER, District Judge.

        This matter having come before the Court on Plaintiff Sebastian Cabreja’s unopposed

 Motion for Default Judgment (ECF 45-49) against Defendants Marco & Family Tires Auto

 Mechanic LLC, Marco Prensa, and Zulaika Herrera Almonte pursuant to Federal Rule of Civil

 Procedure 55(b)(2), and the Court having considered the submissions of Plaintiff, for the reasons

 stated in this Court’s Opinion dated June 16, 2025,

        IT IS on this 16th day of June 2025,

        1. ORDERED that Plaintiff’s Motion for Default Judgment (ECF 45-49) is GRANTED.

        2. ORDERED that Plaintiff shall recover from Defendants $175,700.46 in damages.

        3. If no additional motions are filed, the case will be closed on June 19, 2025.

                                                                   /s/ Jamel K. Semper
                                                                   HON. JAMEL K. SEMPER
                                                                   United States District Judge
   Orig: Clerk
   cc:   Michael A. Hammer,
         U.S.M.J. Parties
